




 











&nbsp;

IN THE

TENTH COURT OF APPEALS




 
  
 
 
  
  
 


&nbsp;



No. 10-07-00315-CR

&nbsp;

Howard Johnson,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant

&nbsp;v.

&nbsp;

The State of Texas,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee

&nbsp;

&nbsp;

&nbsp;



From the 85th District Court

Brazos County, Texas

Trial Court No. 06-04179-CRF-85

&nbsp;



ABATEMENT ORDER



&nbsp;








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant’s brief is overdue, and after notice to appellant’s counsel
to file a brief or extension request, none has been filed. &nbsp;Therefore, we abate
this cause to the trial court for a hearing to determine: (1) why a brief has
not been filed on appellant’s behalf; (2) whether counsel has abandoned the
appeal; (3) whether appellant still desires to proceed with the appeal; and (4)
whether appellant desires self-representation.&nbsp; See Tex. R. App. P. 38.8(b)(3); Fewins
v. State, 170 S.W.3d 293 (Tex. App.—Waco 2005, order).&nbsp; 

The trial court shall conduct the hearing within
30 days after the date of this order.&nbsp; The trial court clerk and the court
reporter shall file supplemental records within 45 days after the date of this
order.&nbsp; See Fewins, 170 S.W.3d at 296-97.

PER CURIAM

&nbsp;

Before Chief Justice
Gray,

Justice
Vance, and

Justice
Reyna

Appeal abated

Order issued and filed
June 11, 2008

Do not publish

[CR25]






height: 0.388889in"&gt;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;By order dated November 15, 1995, we notified the parties that the dispute in these causes
was appropriate for resolution by an alternative dispute resolution procedure.  Tex. Civ. Prac.
&amp; Rem. Code Ann. § 154.021(a) (Vernon Supp. 1996).  Although the State objected to our
actions, we found that its objections did not have a reasonable basis, other than general objections
to ADR, and, on December 20, referred the causes for mediation.  Id. §§ 154.022(b), 154.023. 
The parties agreed on former Chief Justice Clarence Guittard as the impartial third party to be
named.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Judge Guittard conducted the mediation session on January 16, 1996.  The attempt to settle
the dispute was successful and the parties filed a "Motion To Implement Settlement" on January
25.  However, we were unable to determine with sufficient specificity the actions that the parties
requested we take to implement their agreement.  Therefore, we remanded these causes to the trial
court for proceedings consistent with the agreement.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Apparently, the parties have fulfilled the terms of their agreement because they have filed a
joint motion to dismiss.  Attached to the joint motion to dismiss is a copy of the agreement and
a release of the judgments acknowledging payment of $210,000 by the State in satisfaction of the
judgments.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In the relevant portion, Rule 59(a) provides:
(1)  The appellate court may finally dispose of an appeal or writ of error as follows:
(A)  In accordance with an agreement signed by all parties or their attorneys and
filed with the clerk; or
(B)  On motion of appellant to dismiss the appeal or affirm the judgment
appealed from, with notice to all other parties; provided, that no other party
shall be prevented from seeking any appellate relief it would otherwise be
entitled to.  
Tex. R. App. P. 59(a).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Both the State and Lawrence are party to the motion to dismiss.  Thus, the motion is granted. 
They also ask that we issue an order returning the original exhibits to the trial court.  This motion
is also granted.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Therefore, we direct the clerk of this court to return to the County Court at Law of Ellis
County each of the original exhibits forwarded to this Court in connection with these appeals. 
Pursuant to the parties' agreement, the clerk of the County Court shall allow the parties to
withdraw their exhibits upon written receipt.  This appeal is dismissed with the State to bear the
costs, in accordance with the parties' motion.


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER CURIAM
Before Justice Cummings, and
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice Vance
Dismissed on joint motion of the parties
Opinion delivered and filed March 13, 1996
Do not publish


